Case 1:20-cr-00305-LDH Document 203 Filed 12/31/23 Page 1 of 4 PageID #: 1636

                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
NB:JAM/MEM/MG                                         271 Cadman Plaza East
F. #2017R00509                                        Brooklyn, New York 11201



                                                      December 31, 2023

By ECF

The Honorable LaShann DeArcy Hall
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Karl Jordan, Jr., et al.
                       Criminal Docket No. 20-CR-305 (S-2) (LDH)

Dear Judge DeArcy Hall:

               Pursuant to the Court’s December 22, 2023 Order, the government respectfully
submits its proposed jury charges, verdict sheet and voir dire.

                The government notes that the defendants’ proposed voir dire incorrectly states
that “Count One charges the defendants with murdering Jason Mizell while engaged in a
continuing criminal enterprise.” ECF No. 202 at 2. To be clear, Count One of the Superseding
Indictment charges the defendants with a different provision of 21 U.S.C. § 848(e), specifically
with “engaging in an offense punishable under section 841(b)(1)(A) of this title . . . who
intentionally kills or counsels, commands, induces, procures, or causes the intentional killing of
an individual and such killing results.”1 ECF No. 151 (superseding indictment); see 21 U.S.C.

       1
          See, e.g., United States v. Guzman Loera, No. 09-CR-466 (BMC), 2018 WL 4288623,
at *2 (E.D.N.Y. Sept. 7, 2018) (noting Section 848(e) is “triggered by an intentional killing (or
the counseling, commanding, inducing, causing, etc. of a killing) in three different situations”:
“while (1) ‘engaging in’ a continuing criminal enterprise; or (2) ‘working in furtherance of’ a
continuing criminal enterprise; or (3) ‘engaging in an offense punishable under section
841(b)(1)(A) of this title or section 960(b)(1) of this title’”); 3 Modern Federal Jury Instructions
56-51, 56-52, 56-55 (distinguishing drug offense from continuing criminal enterprise (“CCE”)
under Section 848(e)(1)(A)); id., Instruction 56-25 (listing elements of a CCE); compare United
States v. Cureton, No. 16-CR-23 (CBA), ECF No. 35 (indictment charging Section 848 as
murder while engaged in narcotics trafficking conspiracy), with United States v. Guzman Loera
(“El Chapo”), No. 09-CR-466 (BMC), ECF No. 558-3 (indictment charging Section 848 as
CCE).
Case 1:20-cr-00305-LDH Document 203 Filed 12/31/23 Page 2 of 4 PageID #: 1637




§ 848(e)(1)(A). As such, the defendants’ description of Count One should be revised, and
references to a criminal enterprise in their proposed questions in 40-44 are inapplicable to the
charged offenses.

                The government also opposes the defendants’ request to show prospective jurors a
video from the Western District of Washington to explain the concept of implicit or unconscious
bias (hereinafter the “Venire Video”).2 As set forth below, the government has no objection to
the Court providing an instruction to the prospective jurors as to implicit or unconscious bias but
objects to the Venire Video.

                 First, the Court should deny the request because the Venire Video inherently
highlights one instruction over all of the others. The government anticipates that the Court will
deliver all of its instructions to the venire orally. Should the Court play the Venire Video, it will
not only deliver one instruction in a different format than all of the other instructions given by
the Court, but it would also present a video longer than all of the other delivered instructions
combined. Each instruction in a criminal case carries great weight—including those that address
the need to disregard explicit biases, the burden of proof beyond a reasonable doubt and the
presumption of the defendant’s innocence. The Court should decline to play one video that
highlights one instruction over all the others—particularly where the instruction is not narrowly
tailored to a discussion of implicit bias.

                 Second, playing the Venire Video has the potential to unfairly prejudice the
government in the present case. For example, the video shows disturbing images of historical,
government-sanctioned discrimination, choreographed to a discussion of “intentional, deliberate
and harmful discrimination,” which risks creating an anti-government bias in this case.
Highlighting these issues in video format, when the Court presents all of its other instructions
orally, risks inflating the import of this instructions over the rest of the instructions and unfairly
prejudices the government.

                Third, the Venire Video presents a great risk of misleading the jury for another
reason. In this case, the Court will inform the jurors that what the lawyers say is not evidence. It
will inform the jurors that they should follow the Court’s instructions on the law. Playing the
video for the venire, however, contradicts that order. A majority of the Venire Video consists of
statements made by two attorneys from the Western District of Washington, rather than any
judge or court official in the Eastern District of New York, explaining what they believe
unconscious bias is and then directing the potential jurors to explicitly consider those biases
when deliberating. The delivery of such instructions by lawyers directly contradicts what the
government anticipates the Court will inform jurors: lawyers do not present evidence and jurors
should follow the Court’s instructions on the law and the procedure for their deliberations—not
what lawyers tell them. Potential jurors, the majority of whom likely have had little to no
interaction with the legal system, will be told, on the one hand, that the Court’s instructions on
the law control. But on the other hand, they will receive instructions from attorneys, highlighted
as a result of being in video format in the Venire Video, on how to deliberate and what

       2
         The Venire Video can be accessed at the following address:
https://www.wawd.uscourts.gov/jury/unconscious-bias.


                                                  2
Case 1:20-cr-00305-LDH Document 203 Filed 12/31/23 Page 3 of 4 PageID #: 1638




considerations they should take into account when doing so. This potential confusion can easily
be avoided by the Court’s orally delivering a written instruction on the issue, rather than showing
the venire the proposed video.

               Courts in this District have repeatedly declined to show the Venire Video. See
United States v. Avery, No. 19-CR-549 (SJ) (E.D.N.Y. 2022); United States v. Lamar Terry, No.
18-CR-560 (GRB) (E.D.N.Y 2022); United States v. Anthony Lawrence, No. 18-CR-527 (RJD)
(E.D.N.Y. 2019); United States v. Howard Campbell, No. 18-CR-467 (LDH) (E.D.N.Y. 2019).

                Rather than playing the Venire Video as part of voir dire, in the alternative, the
Court should give an oral instruction—a format that does not improperly highlight one
instruction over another. Indeed, the government has no objection to the oral instructions
compiled by the Western District of Washington, which propose instructing the jury regarding
biases—both intentional and unconscious—at various points of the criminal trial, including
before jury selection, before opening statements, and during the jury charge:

               It is important that you discharge your duties without discrimination,
               meaning that bias regarding the race, color, religious beliefs,
               national origin, sexual orientation, gender identity, or gender of the
               defendant, any witnesses, and the lawyers should play no part in the
               exercise of your judgment throughout the trial. Accordingly, during
               this voir dire and jury selection process, I may ask questions related
               to the issues of bias and unconscious bias. Unconscious biases are
               stereotypes, attitudes, or preferences that people may consciously
               reject but may be expressed without conscious awareness, control or
               intention. Like conscious bias, unconscious bias, too, can affect
               how we evaluate information and make decisions.

             While the Western District of Washington instruction first provides the definition
of unconscious bias just before opening statements, the government proposes to provide this




                                                 3
Case 1:20-cr-00305-LDH Document 203 Filed 12/31/23 Page 4 of 4 PageID #: 1639




definition at the voir dire stage, so that the prospective jurors receive this information at the time
they are first instructed about unconscious bias.

               Thank you for your consideration of this request.

                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                               By:           /s/
                                                      Artie McConnell
                                                      Mark E. Misorek
                                                      Miranda Gonzalez
                                                      Assistant U.S. Attorneys
                                                      (718) 254-7000


cc:    Clerk of the Court (LDH) (by ECF)
       All Counsel of Record (by ECF)




                                                  4
